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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF NEW YORK


_______________________________________

UNITED STATES OF AMERICA,

vs.                                                        DECISION AND ORDER

                                                           99-CR-6089

DENNIS FORBES,

                      Defendant.

________________________________________



                                        INTRODUCTION

       This matter is before the Court on the pro se defendant’s motion for the Court to

reconsider its previous order (#156) denying his application for re-sentencing. For the reasons

stated below, the defendant’s application is denied.

                                PROCEDURAL BACKGROUND

       On November 17, 2000 after a jury trial, on Indictment # 99-CR-6089, the defendant

was found guilty of the following: Count One, the Class A felony of Conspiracy to Distribute and

Possess with Intent to Distribute Marihuana and 50 grams or more of Cocaine Base, in violation

of 21 U.S.C. § 841(b)(1)(A) and § 846 and Count Three, the Class A felony of Use of a Minor to

Distribute Marijuana and Cocaine Base, in violation of 21 U.S.C. § 46 and § 861(a)(1).

Additionally, on January 24, 2001, the defendant pled guilty to Indictment # 99-CR-6084,

charging him with Unlawful Possession of a Firearm by a Convicted Felon, a Class C felony, in

violation of 18 U.S.C. § 922(g)(1).

       On January 15, 2002, the Court sentenced the defendant to a term of imprisonment of

life on Count One and Count Three of Indictment # 99-CR-6089 and a term of imprisonment of
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120 months on Count One of Indictment # 99-CR-6084. The Court directed that all terms of

imprisonment be served concurrently. Additionally, the Court fined the defendant $1000 on

each conviction for a total of $3000, imposed a $100 special assessment of on each conviction

for a total of $300, and ordered concurrent supervised release of 3 years.

       By mandate issued November 10, 2005, the Second Circuit directed that “[i]n light of

the Supreme Court’s decision in United States v. Booker, 125 Sup. Ct. 738 (2005) and this

court’s decision in United States v. Crosby, 397 F. 2d 103 (2d Cir. 2005) Defendant-Appellant

Dennis Forbes’ case is remanded to the district court.”

       In accordance with the Second Circuit’s mandate and the Crosby decision, the Court,

after obtaining views of counsel determined, at a court appearance on January 24, 2006, that it

would not impose a sentence that is “non trivially” different from the sentence it originally

imposed. In fact the Court stated, after considering the requisite sentencing factors set forth in

18 U.S.C. § 3553(a) “that it would have imposed the same sentence in light of Booker, Fanfan,

and Crosby as it did on January 15, 2002.” (Transcript of January 24, 2006 proceeding, p.9)



                                      STANDARD OF LAW

       Motion to Reconsider

       The standard for deciding a motion to reconsider in the civil context is relevant for
       deciding a motion to reconsider in a criminal case. See United States v. D'Armond,
       80 F.Supp.2d 1157, 1170 (D.Kan.1999). “‘The standard for granting [a motion to
       reconsider] is strict, and reconsideration will generally be denied unless the moving
       party can point to controlling decisions or data that the court overlooked--matters,
       in other words, that might reasonably be expected to alter the conclusion reached
       by the court.’” Latouche v. North Country Union High School Dist., 131 F.Supp.2d
       568, 569 (D.Vt.2001) (quoting Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d
       Cir.1995)). Moreover, a motion to reconsider should not be granted in situations
       where the moving party seeks to relitigate an issue already decided. Id.

United States v. Fell, 372 F.Supp.2d 773,779 (D.Vt. 2005).




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                                         ANALYSIS

       The defendant in his pro se “Motion to Reconsider the Order of the District Court in

Reaffirming the Defendant’s Sentence on Remand by the Appellate Court” states the basis for his

request as follows: “[i]n applying the preponderance of evidence which was discretionary to

enhance defendant sentence defendant is asking the sentencing judge to use the same discretion

now in reducing his sentence based on preponderance of the evidence that he presented to the

court.” Pro se Motion to Reconsider pp.2-3. However, he does not point out or even contend for

that matter that the Court overlooked any controlling decisions or data in its Crosby decision

denying re-sentencing.

                                        CONCLUSION

       Accordingly, the defendant’s pro se motion to reconsider (#158) is denied.

It is So Ordered.

DATED: Rochester, New York
       May 30, 2006

                                           ENTER.

                                           /s/ Charles J. Siragusa
                                           CHARLES J. SIRAGUSA
                                           United States District Judge




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